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                    TD Bank – Rt 101 Goods/R               – 1932
  Deposit Source      Transactions          Total          Connection to Business

       Cash                 46          $123,316.96        Deposits from Branches
                                                            Around the Country
      TOTAL                             $123,316.96

                                      PAYEES
         Payee                          Count                          Total
      Ian Freeman                         1                         -$51,665.00
   American Real Estate                   1                         -$70,427.00
          LLC
        TOTAL                                                     -$123,092.00

American Real Estate LLC is owned by S         Z     . Z     and Freeman had at least
two contracts regarding loans and purchases of equity in “New Hampshire Vending
Machine Corporation” and “Anypay, Inc.”
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